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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE §"";-.: ',..: z e; l @%_- r~. z §

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. ;'ii\.. ~_).-.). DJ§J¢. (Jl.

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UNITED STATES OF AMERICA

-v- Case No. 2:05cr20201-B

JOHN FORD

 

AMENDED ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Oftice, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear for appearances in the United States Courthouse and
Federal Building as noticed by the District Court.

ADD|T|ONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secnred Finaneial Conditions

0 Execnte a bond in the amount of $20,000.00 or an agreement to forfeit upon failure to appear as required, and
post With the following amount of money to be deposited into the registry of the Court'. 10%.

¢ report as directed by the Pretrial Sel'vices Office.

0 Maintain or actively seek employment

l Surrender any passport to Clerk, U.S. District Coul't.

o Obtain no passport

l Abide by the following restrictions on personal associationJ place of abode, or travel: Defendant is restricted

in residence and travel to the Western District of Tennessee.

0 Avoid all contact, directly or indirectly, with any persons who are or Who may become a victim or potential
witness in the subject investigation or prosecution, including but not limited to: .
` H 'c'hts doctrnent tered on the docket sheet ln com liance
AO 199A OrderSelting Condltions ofReiease with R`"e 55 an':f\lbr 32"3} FHC[P on " "O

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l Refrain from possessing a firearm, destructive device, or other dangerous weapon.

0 Refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy
of any prohibit substance testing or electronic monitoring which is required as a condition of release.

0 Participate in an electronic monitoring program as directed by Pretrial Services. You shall pay all or part of
the cost of the program based upon your ability to pay as determined by Pretrial Services.

0 Participate in one of the following home confinement program components and abide by all the requirements
of the program which may include electronic monitoring or other location verification system. You shall pay

all or part of the cost of the program based upon your ability to pay as determined by Pretrial Services.

Curfew: You are restricted to your residence every day from , or as directed by the Pretrial
Services Office.

0 Other: Abidc by a curfew of 6:0() p.m.; Allowed to travel to and from work, and for meetings with Attorneys,
Reside at residence previously stated as home address; Allowed to participate in Religious Services; Pretrial
Officer will arrange weekend visitation with children..

l Other: Defendant shall abide by all conditions of supervised release previously imposed..

0 Other:

 

 

 

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFEN DANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of dctention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant;\ to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killingl

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service ofsentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed
lf you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of` five years or more, but less than fifteen years, you shall
be fined not more than 3250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

AO199A Order Selting Cond`l|ions of Re|ease -2-

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ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that l am the defendant in this case and that I am aware of the conditions of release. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above. W

Signature of Defe dant

John Ford

602 Dusk Ridge Road
Memphis, TN 38017
901-481-0606

DIRECT|ONS TO THE UN|TED STATES MARSHAL

m The defendant is ORDERED released after processing

|:l The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or Judicial
Officer that the defendant has posted bond and/or complied with all other conditions for release. The defendant
shall be produced before the appropriate judicial officer at ti and place specified, if still in custody.

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J.' DANIEL BR N
UNITED sTATEs DisT T JUDGE

Date: May 31, 2005

 

AO iQQA Order Sett`ing Condi`tions of Release '3'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20201 was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Samuel L. Perkins

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Honorable J. Breen
US DISTRICT COURT

